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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF OHIO
                                EASTERN DIVISION


RE:   Reassignment of Cases to the Docket of
      District Judge Jeffery P. Hopkins


                                          ORDER


      The attached cases are hereby reassigned to the docket of the Honorable Jeffery P.

Hopkins.

      IT IS SO ORDERED.


 December 21, 2022                 ______________________________________
DATE                               Honorable Algenon L. Marbley
                                   Chief Judge United States District Court
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       Case Number                                        Case Title
1:15-cv-00506-MWM         Kondash v. Kia Motors America, Inc. et al
1:16-cv-01059-MWM         Ramsey v. Receivables Performance Management, LLC
                          Siefert et al v. Hamilton County/ Hamilton County Board of
1:17-cv-00511-MWM-SKB     Commissioners/ Hamilton County Department of Job and Family
                          Services et al
1:17-cv-00860-MWM-SKB     Bauer et al v. GE Aviation Systems LLC et al
1:18-cv-00091-MWM-KLL     Durham v. Niffenegger et al
1:18-cv-00144-MWM         Myers v. Wells Fargo Bank, N.A.
1:18-cv-00271-MWM-SKB     Jones v. Conagra Foods Inc et al
1:18-cv-00326-MWM         McGinnes et al v. FirstGroup America, Inc. et al
1:19-cv-00201-MWM         The Bidwell Family Corporation et al v. Shape Corp. et al
1:19-cv-00304-MWM-KLL     Fontain v. Lane et al
1:19-cv-00481-MWM         Trustaff Travel Nurses, LLC v. Trusted, Inc.
1:19-cv-00594-MWM-SKB     Sturgill v. Muterspaw et al
1:19-cv-00613-MWM         Forman et al v. TriHealth, Inc.
1:19-cv-00692-MWM         Collins v. Central Railroad of Indiana et al
1:19-cv-00758-MWM         Cronin v. Kaivac, Inc. et al
1:19-cv-00828-MWM         Rees v. Newcomer Funeral Service Group, Inc.
1:19-cv-00852-MWM-KLL     Pannek et al v. U.S. Bank National Association
1:19-cv-00889-MWM-KLL     Clendenin v. United States Of America
1:19-cv-00999-MWM         Kaylor v. Multi-Color Corporation
1:19-cv-01062-MWM         Hawkins et al v. Cintas Corporation et al
1:20-cv-00092-MWM         Scalia v. Complete Care Supported Living Agency et al
1:20-cv-00118-MWM         McCleese v. Natorp's Inc. et al
1:20-cv-00157-MWM-KLL     Johnson v. Lawless
1:20-cv-00294-MWM         Gipson v. Cincinnati Children’s Hospital Medical Center
1:20-cv-00428-MWM         PCA-Corrections, LLC v. Akron Healthcare LLC et al
1:20-cv-00680-MWM-SKB     Hicks v. Faris et al
                          Luxottica of America Inc. v. Allianz Global Risks US Insurance
1:20-cv-00698-MWM
                          Company
1:20-cv-00825-MWM-KLL     Holmes v. United States of America et al
1:20-cv-00963-MWM         Jones v. Sun Chemical Corporation
1:20-cv-00972-MWM         Mamedova et al v. USCIS et al
1:21-cv-00003-MWM-SKB     Johnson v. Osborne et al
1:21-cv-00031-MWM-KLL     Henry v. Secretary, Department of Treasury
1:21-cv-00066-MWM         The Estate of Plott v. Department of Health and Human Services et al
1:21-cv-00141-MWM-KLL     Johnson v. Barney et al
1:21-cv-00155-MWM-SKB     Johnson v. Hill et al
1:21-cv-00171-MWM-KLL     Johnson v. Little et al
                          Options Unlimited Research Corp v. Western & Southern Financial
1:21-cv-00192-MWM
                          Group, Inc.
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                          Annis et al v. Plumbers, Pipe Fitters & Mechanical Equipment Service
1:21-cv-00325-MWM
                          Local Union No. 392 Health and Welfare Fund et al
1:21-cv-00423-MWM-KLL     Williams v. Warden, London Correctional Institution
1:21-cv-00462-MWM-SKB     Seifu v. Post Master General, U.S. Postal Service
                          The William Powell Company v. The Ocean Marine Insurance
1:21-cv-00522-MWM
                          Company Limited et al
1:21-cv-00532-MWM-SKB     Edge v. Erdos et al
1:21-cv-00533-MWM         Breitenstein v. Deters et al
1:21-cv-00562-MWM         Penny v. Cottingham Retirement Community Inc et al
1:21-cv-00578-MWM         Barnes v. Secretary of Veterans Affairs
1:21-cv-00583-MWM-SKB     Keith v. Dodson Global Inc.
1:21-cv-00588-MWM         Alexsam, Inc. v. US Bank NA
1:21-cv-00793-MWM-SKB     Cotton v. Fedex Ground Package System, Inc.
1:22-cv-00007-MWM         West v. Unlimited Potential Pizza, Inc. et al

1:22-cv-00031-MWM-CHG Johnson v. Cool et al

1:22-cv-00032-MWM         Singer-Reed v. Planes Moving and Storage, Inc. et al
1:22-cv-00044-MWM         Doe v. Board of Education of Fairland Local School District et al
1:22-cv-00062-MWM         3371 Reading, LLC v. Liberty Mutual Group, Inc. et al
1:22-cv-00067-MWM         Neack v. UC Health, LLC et al
1:22-cv-00083-MWM         OTR A.D.O.P.T., Inc. v. City Of Cincinnati et al
1:22-cv-00088-MWM         Clark et al v. Specialized Loan Servicing, LLC et al
1:22-cv-00105-MWM-SKB     Fontain v. O'Connell et al
1:22-cv-00211-MWM         Chang v. Silvani et al
1:22-cv-00252-MWM-KLL     Mathieu v. City of Cincinnati Police Impound
1:22-cv-00312-MWM         Shah v. Fortive Corporation et al
1:22-cv-00317-MWM-KLL     Nouri v. State of Ohio et al
1:22-cv-00335-MWM         McKeon v. Day's Miami Heights Pharmacy et al
1:22-cv-00355-MWM         Amicus Miami of Ohio, LLC v. Kacachos et al
1:22-cv-00376-MWM         Roe et al v. University Of Cincinnati
1:22-cv-00431-MWM-KLL     Fontain v. Nestor et al
1:22-cv-00439-MWM         Rowland v. Jake Sweeney Automotive, Inc. et al
1:22-cv-00443-MWM-KLL     Nuritdinov v. Meda-Care Transportation Inc.
1:22-cv-00458-MWM-KLL     Tsibouris v. Colerain Township et al
1:22-cv-00482-MWM         Thomas et al v. Doe et al
1:22-cv-00537-MWM-SKB     Harney v. Warden, Ohio Reformatory for Women
1:22-cv-00543-MWM-KLL     Stansberry v. Raising Caines
1:22-cv-00610-MWM-KLL     Epps v. United States of America et al
1:22-cv-00628-MWM         Corbett et al v. MLINK Technologies, Inc. et al
1:22-cv-00651-MWM-SKB     Sealy v. Barrett et al
1:22-cv-00669-MWM         Holbrook v. Financial Asset Management Systems, Inc.
